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UNITED STATES DISTR.TCT COURT
WESTERN DISTRICT OF WASHlNG'l`ON

U`NITED STAT'ES OF AM'ER]CA, )
)
Piaintit`f, ) CASE NO. CROS-ZGORSL
)
v, ) ORDER CONTTNUNG DETENTION
) SUPERSED]NG IN[}ICTMENT
MATTHEW ALEX ERICKSON, )
)
Dofe.ndam. )
)

 

A Supersoding Indictment having been rotn'mod against the above-named defendant, now
therefore

IT IS ORDERED that detention be continued as previously Sct.

DATED this M dayr of November 2005.

 

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UN]TED.-ST TES MAG[STRA'[°B J'UDGE

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Order Conlinuing Detention
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